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                               UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 ERIN TONKYRO,
 DANA STRAUSER,
 KARA MITCHELL-DAVIS,
 YENNY HERNANDEZ
                                                                Case No.:8:16-cv-2419-t-36AEP
        Plaintiffs,

 v.

 ROBERT WILKIE, Acting Secretary,
 DEPARTMENT OF VETERANS AFFAIRS,

       Defendant.
 ________________________________________/

              THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                       INJUNCTIVE RELIEF REQUESTED

        Plaintiffs, Erin Tonkyro, Dana Strauser, Kara Mitchell-Davis and Yenny Hernandez

 (hereinafter “Plaintiffs”) complain of Defendant, Robert Wilkie, Acting Secretary, Department

 of Veterans Affairs as follows:

        1.      This court has jurisdiction pursuant to Title VII of the Civil Rights Act of 1964,

 42 U.S.C. § 2000e et seq., including 42 U.S.C. § 2000e-16.

        2.      Plaintiffs have complied with all jurisdictional prerequisites to action under Title

 VII of the Civil Rights Act of 1964 as amended including having exhausted their administrative

 remedies.

        3.      James A. Haley VA Healthcare System (Haley VAHCS) is a Veterans

 Administration (VA) hospital and medical center with related services. It is broken down into

 various services. Kathleen Fogarty (Fogarty) was Director at material times until 2015. Joe D.

 Battle is the current Director. Edward Cutolo (Cutolo) is Chief of Staff.        Stephen Stenzler
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 (Stenzler) is the Chief of the Radiology Service. Joseph Parise (Parise) is Assistant Radiology

 Chief. John Bennett (Bennett) is currently the Administrative Officer of Radiology and was

 Plaintiffs second line supervisor as the Chief Radiology Technologist from 2008 to 2012. Jeri

 Graham (Graham) was the Plaintiffs’ direct supervisor until April 2012 and is currently

 Plaintiffs’ second line supervisor and is the Chief Technologist in the Radiology Department.

 Carolyn Eubanks was the Plaintiffs’ first line supervisor from January 2013 until November

 2013. Mario De Leon (De Leon) was Plaintiffs’ first line supervisor prior to Scott Petrillo

 (Petrillo) being hired at the beginning of October 2014. Dr. Jorge DeVillasante was the Chief of

 Radiology prior to Dr. Stenzler. Scott Petrillo (Petrillo) is the Ultrasound and MRI supervisor

 and the first line supervisor of Yenny Hernandez and of Erin Tonkyro, Dana Strauser and Kara

 Mitchell-Davis (the Plaintiffs). Each of the employees of the VA as described herein were

 employed by the Defendant and were acting within the course and scope of his or her

 employment with the Defendant at the time of the conduct described herein. Each of the

 employees was there during relevant times of this complaint.

        4.     Erin Tonkyro (Tonkyro) is a Medical Instrument/Ultrasound Technologist (MIT)

 at the Haley VA. She has worked at VA in her position for over thirteen (13) years.

        5.     Kara “Nikki” Davis (Davis) has been a Lead Medical Instrument Technologist

 (GS-10) since February 2014 at the Haley VA and prior to that was an MIT/ Ultrasound

 Technologist (GS-9) since November 2008.

        6.     Dana “Michelle” Strauser (f/k/a Pryor) (hereinafter Strauser) has been in her

 position as an MIT/Ultrasound Technologist (GS-9) for over seven (7) years at the Haley VA.

        7.     Yenny Hernandez (Hernandez) is a Medical Instrument/Ultrasound Technologist

 (MIT)( GS-9) since October 2011 at Haley VA.



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        8.      The Defendant has engaged in sexual harassment of several female employees

 and a pattern and practice of retaliation for engaging in EEO activity including opposing sexual

 harassment, the filing of informal and formal Equal Employment Opportunity (“EEO”) claims,

 participation in this EEO activity or participation as a witness on behalf of other parties’ EEO

 claims. This retaliation for EEO activity went on throughout all material times.

        9.      Tonkyro was a victim of sexual harassment and opposed sexual harassment

 against herself and several other female employees. She filed informal EEO complaints on

 May1, 2012 and March 28, 2014. She filed formal EEO complaints on June 12, 2012 and July 9,

 2014. She filed her present EEO complaint on July 9, 2014. She added like or related claims

 and amendments on November 14, 2012, which were accepted for investigation on November

 19, 2012 and on September 24, 2014, which were accepted for investigation on October 1, 2014.

 She has fully participated throughout the processing of those complaints and the processing of

 complaints by others, inter alia, by providing testimony, documents and deposing witnesses

 including individuals set forth in Paragraph 3. Tonkyro filed her present formal EEO complaint

 on July 9, 2014 and more than 360 days have passed since that date, thus satisfying the

 jurisdictional requirements of 42 U.S.C. 2000e- 16(c). Tonkryo also filed another informal

 complaint on September 22, 2015 and filed her formal compliant on November 3, 2015. More

 than 360 days have passed since that date, thus satisfying the jurisdictional requirements of 42

 U.S.C. 2000e- 16(c).

        10.     Davis was a victim of sexual harassment and opposed sexual harassment against

 herself and several other female employees. She filed informal EEO complaints on April 30,

 2012 and April 1, 2014. She filed formal EEO complaints on June 8, 2012 and July 7, 2014.

 She added like or related claims and amendments on November 14, 2012, which were accepted



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 for investigation on November 19, 2012, and on November 20, 2014, which were accepted for

 investigation on November 25, 2014. She has fully participated throughout the processing of

 those complaints and the processing of complaints by others, inter alia, by providing testimony,

 documents and deposing witnesses including individuals set forth in Paragraph 3. Davis filed

 her present formal EEO complaint on July 7, 2014 and more than 360 days have passed since

 that date, thus satisfying the jurisdictional requirements of 42 U.S.C. 2000e- 16(c). Davis also

 filed another informal complaint on September 23, 2015 and filed her formal compliant on

 October 28, 2015. More than 360 days have passed since that date, thus satisfying the

 jurisdictional requirements of 42 U.S.C. 2000e- 16(c).

         11.     Strauser was a victim of sexual harassment and opposed sexual harassment

 against herself and several other female employees. She filed informal EEO complaints on May

 1, 2012 and March 28, 2014. She filed formal EEO complaints on June 8, 2012 and June 15,

 2014.   She has fully participated throughout the processing of those complaints and the

 processing of complaints by others, inter alia, by providing testimony, documents and deposing

 witnesses including individuals set forth in Paragraph 3.      Strauser filed her formal EEO

 complaint on July 11, 2014 and more than 360 days have passed since that date, thus satisfying

 the jurisdictional requirements of 42 U.S.C. 2000e- 16(c). Strauser also filed another informal

 complaint on February 10, 2016 and filed her formal compliant on April 4, 2016. More than 180

 days have passed since that date, thus satisfying the jurisdictional requirements of 42 U.S.C.

 2000e- 16(c).

         12.     On May 1, 2015 Plaintiffs’ Tonkyro and Davis also moved to amend their original

 formal EEO complaints. More than 360 days have passed since that time.




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        13.     Hernandez’ EEO activity included the fact that she was a witness in the AIB and

 original EEO involving the other three Plaintiffs in May of 2012 and December 2012. She was

 also a witness in their EEOs by affidavit dated December 30, 2014. Hernandez was a also a

 victim of sexual harassment and opposed sexual harassment against herself and others, including

 the other Plaintiffs. Hernandez filed her informal complaint on July 28, 2016.       She filed her

 formal complaint on September 8, 2016. She has fully participated throughout the processing of

 those complaints and the processing of complaints by the other Plaintiffs, inter alia, by providing

 testimony, documents and deposing witnesses including individuals set forth in Paragraph 3.

 More than 180 days have passed since her filing of the formal complaint on September 8, 2016,

 thus satisfying the jurisdictional requirements of 42 U.S.C. 2000e- 16(c).

        14.     The Plaintiffs’ claims arise out of the same transaction or occurrence or series of

 transactions or occurrences and the claims have common questions of fact and law.

                                  GENERAL ALLEGATIONS

        15.     Beginning in 2008 Plaintiffs and others began to suffer from sexual harassment

 and a hostile work environment caused by supervisory management officials. After numerous

 complaints to upper management about these issues without meaningful action, EEO complaints

 were filed in May 2012. An Administrative Investigative Board was commenced by management

 and an investigation was conducted into the behaviors reported.              On July 9, 2012 an

 Administrative Investigation Board (AIB) investigation was completed regarding allegations of

 sexual harassment, creating a hostile work environment, and conduct unbecoming of a federal

 employee within the Ultrasound Department. The AIB committee was composed of all Haley

 VA employees other than one individual, despite concerns voiced by the Plaintiffs to Director

 Fogarty and the Chief of Staff, Cutolo that some members of the AIB possessed a bias. The AIB



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 investigation was not a good faith investigation into the allegations of sexual harassment. It

 nevertheless concluded that “appropriate administrative action” needed to be taken against Dr.

 Parise and Bennett. Appropriate administrative action was not taken. On November 14, 2012,

 Plaintiffs Tonkyro, Strauser, and Davis were notified that Bennett and Graham were placed back

 into their supervisory roles.    On January 17, 2013 Plaintiffs were notified of Dr. Parise's

 reinstatement as Assistant Chief of Radiology and John Bennett's new position was a promotion

 to Administrative Officer of Radiology. Director Fogarty was responsible for making the final

 decision based on the AIB findings regarding what appropriate administrative actions would or

 would not be taken.

        16.     In May 2012, Plaintiffs, Tonkyro, Strauser and Davis, had filed complaints with

 the EEO as a result of the sexual harassment and hostile work environment. Given the lack of

 good faith in the AIB, their cases proceeded through discovery depositions of John Bennett and

 Kathleen Fogarty as well as the plaintiffs and a former ultrasound technologist, Megan Green

 who resigned because of sexual harassment.            Those cases involved most of the same

 management officials that are involved in this case. Hernandez was listed as a witness for

 Plaintffs Tonkyro, Strauser and Davis. Their cases settled in September 2013. The cases settled

 for damages, attorneys fees, and other affirmative relief.

        17.     During the periods of the AIB and Plaintiffs Tonkyro’s, Strauser’s, Davis’s and

 Hernandez’ EEO cases and subsequently, management officials spread rumors and made

 denigrating remarks about them to others inside and outside the VA. These included demeaning

 their work ethic; falsely describing their conduct; and disparaging their motives and reputations.

 Plaintiffs Tonkyro, Strauser, Davis and Hernandez were portrayed as falsely claiming

 harassment, only seeking money and people who should be avoided.



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        18.     Certain officials also threatened the Plaintiffs and others. Dr. Parise threatened

 various doctors that his lawyers would get any statements they made and he would see them.

 They would know how management felt by the actions that followed. On or about June 12 or 13,

 2013, a meeting occurred in Dr. Parise’s office. Present at the meeting were Dr. Stenzler, Chief

 of Radiology, Dr. Parise, Dr. Hersh, Dr. Cay, Dr. Brenner and Dr. Andrews. Dr. Parise told the

 doctors that he would not go down to the Ultrasound Department because if he saw them (the

 sexually harassed technologists) he would “put his F****** foot down their throats”. No one

 spoke up in defense of the ultrasound technologists. Dr. Parise and Bennett often postured

 hostility when encountering the Plaintiffs. Strauser received threatening phone calls from Haley

 VAHCS by a male claiming to be an attorney and threatening to file a law suit against Strauser

 on behalf of Dr. Parise’s wife, Dominique. Strauser also received harassing telephone calls from

 Mrs. Parise on two occasions.         Bennett told an outside vendor to only send female

 representatives to demonstrate equipment because the ultrasound technologists had issues with

 men.   Strauser and Davis received baseless written counselings.           Hernandez received a

 counseling when she complained of sexual harassment against another employee.

        19.     Since the September 2013 settlement, investigations which were supposed to take

 place into certain matters referenced above have either not been conducted in good faith or at all.

 Witnesses that have come forward have had their workload complicated and subjected to

 baseless fact findings and management lead Administrative Investigative Boards (AIBs).

 Hernandez was one of those individuals. Assertions that Parise and Bennett would be taken out

 of the Plaintiffs’ Tonkyro, Strauser, and Davis’s chains of command have not actually occurred.

 These three Plaintiffs have continued to suffer from a hostile work environment based on reprisal

 and conduct of the type alleged has continued. These three Plaintiffs and Hernandez have: been



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 denied career advancement and promotions; subjected to privacy breaches; threatened and

 intimidated; and denied compressed work schedules, among other things.

        20.     Following the September 2013 settlement, information which is confidential and

 Privacy Act protected was placed on the VA’s intranet available to all other employees and

 supervisors. This included information disclosing the fact of the Plaintiffs Tonkyro, Strauser,

 Davis’s EEOs, documents that were supposed to have been removed or expunged from their files

 as part of the settlement and other documents which placed Plaintiffs Tonkyro, Strauser, and

 Davis in a bad light. Similar conduct has been found to evidence retaliation. Mogenhan v.

 Napolitano, 613 F.3d 1162, 1166 (D.C. Cir. 2010). Discovery has shown that the Privacy Office

 found that this was protected information and ordered an investigation.

        21.     The Defendant put Bennett in charge of its investigation into Privacy Act

 breaches. Discovery has also shown that Bennett and Stenzler provided false information to the

 Privacy Office. The report back to the Privacy Office was under the signature of Service Chief,

 Stenzler. However, depositions reflect that the report was prepared by Bennett. The report

 reflects that ADPAC coordinator Kevin Miller was designated to investigate the radiology

 S:/Drive for improper material or unsecured sensitive information. The report states: “Upon

 investigation, it was revealed that: the sensitive information referred to did in fact reside on the

 radiology S:/Drive.”    Miller testified that while assigned the investigation, he found no

 information on the S:/Drive. On information and belief, evidence will show it had already been

 moved elsewhere. The report to the Privacy Office next maintains that “. . . it must be deduced

 that the outgoing Supervisor of [MRI and ultrasound, Carolyn Eubanks] placed the information

 on the S:/Drive for the service to retain.” Mr. Miller denied discovering that as a result of his

 investigation. The report further states that “no person currently working in the service had



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 knowledge of these files being transferred to the S:/Drive as no notification to any employee was

 established.” Mr. Miller did not make that finding as a result of his investigation.

        22.     The report also contains a remediation plan which could not be verified through

 discovery. The redress, preservation and protection of the Plaintiffs’ Privacy Rights has not

 occurred.

        23.     As the result of the above, Tonkyro, Strauser, and Davis filed new EEOs.

 Hernandez was a witness for them in these proceedings. She provided the December 30, 2014

 affidavit for Davis and she was named as a witness in their interrogatory answers filed in their

 EEO administrative proceedings in June and July 2015.

        24.     Plaintiffs Tonkyro’s, Strauser’s and Davis’ hostile work environment has

 continued with new like and related hostile events. Plaintiff Hernandez has both observed and

 experienced many of those acts as well, including being approached by Dr. Thornton Eastham

 and told that Dr. Parise was saying that she and other girls in ultrasound would be fired.

 Members of management have used various means to undermine the Plaintiffs’ ability to

 perform their jobs. Management has hired supervisors over ultrasound who have no knowledge

 or experience with ultrasound procedures or techniques. They have also hired incompetent

 technologists to work in Ultrasound and placed the health and safety of veterans in danger while

 ignoring prior decisions by ultrasound technologists and hiring panels rejecting the hiring of

 these technologists. Tumors, pregnancies, thyroid nodules, and general or miscellaneous

 pathologies have been missed, but management failed to address these issues when notified.

 This places the veterans, lead technologist Davis and other ultrasound technologists in jeopardy.

 Open positions have also not been filled. Davis’s ability to perform through her employees is

 being impaired. Other technologists have experienced increased stress from having to carry an



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 extra load. This burden has fallen primarily upon the Plaintiffs. This provides management with

 a pretextual basis to take actions against her and the other Plaintiffs or deny them advancement.

          25.    Management has not only hired technologists for the Ultrasound Department who

 do not know how to perform ultrasound or who have difficulty following the orders given by

 radiologists or other physicians to check various organs, but one of those technologists has

 engaged in continuous sexual harassment which is offensive to other ultrasound technologists.

 Efforts to get Petrillo, Stenzler or others to address each of these issues have failed. These

 actions by management have aggravated the hostile work environment that the Plaintiffs are

 experiencing.

          26.    Both Davis and Tonkyro have been denied positions for which they were the

 most qualified. In addition to statements by Dr. Stenzler to Tonkyro made two months after the

 September, 2013 settlement agreement that management would not allow her to be a supervisor

 after her EEO activity, management has made statements to other employees that none of the

 technologists who filed EEOs would be allowed to advance.

          27.    Tonkyro, Davis, Strauser and Hernandez have been subjected to the same or

 substantially similar hostile work environments based upon reprisal (EEO activity) as set forth

 below.

          28.    In addition to paragraphs 19 to 27, Tonkyro has been subjected to a hostile work

 environment based upon reprisal (EEO activity) including in the following ways:

                 a.     On August 23, 2013 Bennett glared in a threatening manner at Tonkyro

       when he walked past her.

                 b.     On September 13, 2013, Dr. Stephen Stenzler (Stenzler) approached

       Tonkyro and asked to speak to her in private.             He stated to Tonkyro that an



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      MRI/Ultrasound supervisor position was about to become available and that she should

      apply and that she would make a great leader. On December 4, 2013, Stenzler stated that

      after providing his recommendations to the Director and Dr. Cutolo, they both stated that

      would not occur and that the Director wanted an external party to be hired for the position.

              c.      On January 9, 2014, management (Stenzler, Bennett and Parise) modified

      the job qualifications for the MRI/Ultrasound supervisor position in such a manner to

      ensure Plaintiffs would not be qualified. They modified it from previously being open to

      Diagnostic Radiology Technologists (DRTs) and Ultrasound Technologists to just DRTs

      only, thus excluding Plaintiffs.

              d.      January 20, 2014, Tonkyro was denied the opportunity to apply for the

      MRI/Ultrasound supervisor position. Only DRTs, not MITs, could apply for this job.

              e.      On or around February 12, 2014, management knowingly allowed privacy

       act protected information relating to Tonkyro, Davis and Strauser relating to their prior

       EEO complaint, records, and written counseling, as well as HIPAA information to be

       stored on the “S-drive,” which was available to view on the computers of other

       supervisors and hospital employees. This included information which was supposed to be

       removed from official files as a result of the September 2013 Settlement Agreement.

              f.      On or about February 12, 2014, Plaintiffs were notified by another staff

       employee that confidential information concerning them and their EEOs were on the

       facility intranet accessible by other employees and supervisors. This placed them in a

       bad light. Later, several technologists claimed to have knowledge of the Plaintiffs’

       settlement agreement and made statements denigrating the Plaintiffs. This did not come

       from the Plaintiffs and must have come from supervisors trying to create hostility



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       between the Plaintiffs and others because of benefits the Plaintiffs were said to have

       received.

              g.      On March 23, 2014, Tonkyro felt threatened and intimidated when Parise

       entered her work area and glared at her.

              h.      On March 26, 2014 Plaintiffs had a meeting with Stenzler to discuss that

       they felt uncomfortable with Parise being in their department and informed Stenzler that

       Parise was in the department unaccompanied. Stenzler stated during the meeting “you

       girls will never get past this,” referencing their prior EEO complaints.

              i.      On or about August 27, 2014, another staff employee made a disparaging

       comment about female Ultrasound Technologists after allegedly accessing information

       about the Plaintiffs’ prior EEO complaint on a hard drive.

              j.      In September of 2014, Tonkyro, who was frustrated by the treatment she

       received at the main hospital, transferred to the Primary Care Annex (PCA). On several

       other occasions Tonkyro had issues with obtaining supplies for her work location in

       regards to preparing the facility for patient care. Tonkyro’s performance was based in

       large part upon providing that care. Bennett was responsible for making sure Tonkyro

       had the items needed for the start-up of the PCA.

              k.      A PCA lead tech position has been approved by upper management since

       June 27, 2014. That involves a GS increase from a GS-9 to a GS-10, and increased pay.

       However, Radiology management has refused to provide the lead technologist position to

       Tonkyro. Tonkyro has been provided a number of excuses for why the position which

       has been approved by upper management for two years has not been made available to

       her.



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              l.     On January 26, 2015 during a meeting, MRI/Ultrasound Supervisor,

       Petrillo, and Chief of Radiology, Stenzler, informed the Ultrasound staff that there was

       going to be a new position posted for an Ultrasound Supervisor.         Petrillo had no

       ultrasound experience or training. He stated that he would no longer be the supervisor

       once the position was filled and that the position would be posted within a week. The

       position was not posted. Both Davis and Tonkyro inquired about the position with

       Petrillo over a two month time period and his response to both of them was he had no

       knowledge of the new position.

              m.     On March 31, 2015 in a department meeting, Petrillo informed the

       Ultrasound technologists that the supervisor position was not going to be posted and/or

       filled. It was decided by upper management that the greater need was for a technologist

       that can scan patients. Once Tonkyro and Davis showed interest in this upper-level

       position, management decided that it was no longer needed or available in an effort to

       retaliate against the Plaintiffs by prohibiting their advancement within the department.

       This instance was similar to when the MRI/Ultrasound position was posted in January

       2014 for DRT’s to apply, thus excluding the ultrasound technologists from the possibility

       of advancing into an upper-level management position. In addition, this instance is

       similar to a course previously used by the same management officials named in

       Plaintiffs’ prior EEO complaints where management played favorites by dangling the

       Lead Ultrasound Technologist position in front of Plaintiffs and used it as a tool in

       creating a sexually harassing and hostile work environment.

              n.        After the PCA lead and ultrasound supervisor issues were made a part

       of the Plaintiffs’ latest EEOs, the ultrasound supervisor’s position was posted. An



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       ultrasound supervisor position was posted in April 2016. However, management will not

       allow any of the three ultrasound technologists to obtain this position which still remains

       unfilled. In March 2016 Petrillo offered the PCA lead to Davis, not Tonkyro. Petrillo

       knew Davis would not want to take that position.        Davis refused. On June 2, 2016,

       Tonkyro asked Stenzler why she was not being offered the PCA lead position. Stenzler

       admitted authorizing Petrillo to offer the PCA lead to Davis as a lateral move, but

       pretextually told Tonkyro he was now working out organizational chart issues.

       Moreover, shortly after he had offered Davis the PCA lead tech position and she refused,

       it was announced that there would be an ultrasound supervisor position opening at the

       main hospital in Tampa that the Plaintiffs supposedly could qualify for, and that position

       was advertised. Only Davis applied, but she has not received the position. Among the

       pretextual reasons Davis was given was the need for organization chart changes. During

       the June 2, 2016 conversation, however, Stenzler, who knows Tonkyro has reported this

       as part of her EEO claims, told Tonkyro that the Ultrasound supervisor position was

       “meant for” her and he was surprised that she had not applied for that position. He made

       this statement despite knowing Tonkyro had already reported his statement that the

       Director and Dr. Cutolo would not let her have that position as part of her EEO claims.

       ¶24 b. In or around July 2016 Tonkyro was also told that management had told others

       that neither Davis, her, or Strauser would ever receive these positions. Rather, someone

       from outside would be selected as supervisor and make it difficult on them. Management

       is creating continued disruption by allowing technologists to know positions could be

       available, but not allowing them to obtain them while offering pretextual excuses instead

       and conveying conflicting information.



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                 o.   From the summer of 2016 until the present several of these issues have

       continued and new threats have been made.          The ultrasound lead and supervisors’

       positions have not been filled and despite requests, no one will offer an understandable

       reason.

                 p.   On August 25, 2016, Davis, Tonkryo, and Strauser met with Battle to

       discuss their apprehensions regarding the apparent decline of patient care and safety, as

       well as threatening and retaliatory practices and deteriorating morale within their service.

       The next day, Dr. Osman Cay, who was acting chief while Stenzler was out of town and

       Dr. Parise was off, spoke with some Radiology staff members about it. This conversation

       included the fact that they met with Battle the day before, and how this was perceived as

       going out their “chain of command” by other Radiology staff members. A few days later

       Parise began to tell other radiologists that the “problem” ultrasound girls were going to be

       fired because of the “in-fighting” within the department. On September 14, 2016, the

       Plaintiffs disclosed this threating information to Battle by email. He responded on

       September 19, 2016 and stated that he would not tolerate retribution and that he did not

       know how Dr. Cay got the information about the meeting. No further follow-up has

       occurred.

                 q.    It was brought to Davis’s attention by Dr. Katie Bailey, a staff radiologist

       at James A Haley, that Parise made derogatory gestures and comments about Davis

       during the October 2016 Radiologist meeting in front of the Chief of Radiology, Stenzler,

       as well as other physicians. Stenzler stood up in front of all the Radiologists at this

       meeting and told them that Davis was about to have her baby and that she would be out

       on maternity leave for four months Parise then yelled out “Yes” and at the same time



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        made an arm jerking motion to suggest a celebratory action. As soon as the meeting was

        over, Bailey told Davis about the incident.   This was the second time that Parise had

        threatened or acted inappropriately about Davis in front of Stenzler and nothing had been

        done about it. This upset Tonkyro because the techs have been considered as one and

        criticized as a group.

               r.       Davis was also informed by Dr. Thornton Eastham a radiologist, that

        Parise was speaking out to different individuals about threatening to fire the ultrasound

        girls, Davis, Tonkyro , and Strauser, because he heard that they had a meeting with the

        hospital director. Dr. Eastham said he was concerned for their well being.

               s.       The Ultrasound Department continued to be short staffed and patient care

        is being interrupted and compromised. The lack of a sufficient number of competent

        ultrasound techs has been brought to management’s attention on multiple occasions. The

        lack of support from Radiology’s management team has been part of a desire to harass

        the Ultrasound Department as a form of retaliation for their prior and current EEOs.

               t.      Dr. Aaron Andrews, who met with Stenzler on November 4, 2016,

        brought to Davis’s attention that Stenzler had been making derogatory comments about

        Davis’s performance as the lead of the Ultrasound Department. During the same meeting

        Stenzler was discussing Davis, Tonkyro, and Strauser’s previous and current private EEO

        information with Andrews. Stenzler told Andrews that Davis, Strauser, Tonkyro and

        ultrasound technologist Hernandez were the reasons for the Ultrasound Department’s

        failures because they were filing frivolous or unfounded EEOs.

        29.    In addition to paragraphs 19 to 27, Davis has been subjected to a hostile work

 environment based upon reprisal (EEO activity) including in the following ways:



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              a.      From August 23, 2013 to late March, 2014 Bennett constantly intimidated

       Davis by glaring at Davis in a threatening manner when he was in close proximity to her.

              b.      On January 9, 2014, management (Stenzler, Bennett and Parise) modified

       the job qualifications for the MRI/Ultrasound supervisor position in such a manner to

       ensure Plaintiffs would not be qualified. They modified it from previously being open to

       Diagnostic Radiology Technologists (DRTs) and Ultrasound Technologists to just DRTs

       only, thus excluding Plaintiffs.

              c.      On February 14, 2014, Davis received a call from an MRI technologist,

       Gina Feeney, informing Davis that Bennett and Stenzler allowed personal information

       relating to her previous EEO and other EEO complaints to be stored on a computer hard

       drive that was accessible to anyone with access to the facility’s computers. She and other

       technologists complained. They felt they were being made to look bad.

              d.      On or about February 14, 2014, Plaintiffs were notified by another staff

       employee that confidential information concerning them and their EEOs were on the

       facility intranet accessible by other employees and supervisors. This placed them in a

       bad light. Later, several technologists claimed to have knowledge of the Plaintiffs’

       settlement agreement and made statements denigrating the Plaintiffs. This did not come

       from the Plaintiffs and must have come from supervisors trying to create hostility

       between the Plaintiffs and others because of benefits the Plaintiffs were said to have

       received.

              e.      On February 28, 2014 Davis was selected (approving authority

       information pending) to serve as the Lead Technologist, GS-10. Davis was told that she

       would have to be boarded and processed for the position and that it would be finalized no



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       later than two weeks. Davis did not receive the promotion or pay until May 2014.

       Bennett and other members of management attempted to rewrite standards in order to

       delay her promotion and to reduce her ability to be successful.                Subsequently,

       management has undertaken efforts which undermine her ability to work and place her at

       risk for punishment.

              f.       On March 21, 2014 Graham convened a hiring panel to conduct

       interviews that Davis was tasked to participate in. Throughout the process the individuals

       not initially qualified to be added to the certificate were added to the inventory and Davis

       and other panel members interviewed them. The hiring official, Stenzler, decided against

       the panel’s recommendations and selected someone of his choosing. Davis had a meeting

       with Stenzler to express that he, as the hiring official, performed this act as a means to

       hire unqualified personnel in order to see her (Davis) fail as the lead technologist.

              g.      On March 25, 2014 Parise entered Davis’ workspace unaccompanied.

       This action was in violation of a previous agreement between Plaintiffs and management

       per the previous EEO complaints.

              h.      On March 26, 2014 Parise entered Davis’ work space and glared at her in

       an intimidating manner.

              i.      On March 26, 2014 Plaintiffs had a meeting with Stenzler to discuss that

       they felt uncomfortable with Parise being in their department and informed Stenzler that

       Parise was in the department unaccompanied. Stenzler stated during the meeting “you

       girls will never get past this,” referencing their prior EEO complaints.

              j.      On March 27, 2014, in attempt to see Davis fail as Lead Technologist,

       Stenzler decided against the recommendations of a panel and selected unqualified



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       individuals for a position that Davis would have some responsibility for. Davis had a

       meeting with Dr. Stenzler regarding this to no avail.

              k.      On or about August 1, 2014 management denied Davis’ request for a

       compressed work schedule when they had approved it for other ultrasound technologists

       within the department.

              l.      On or about August 27, 2014, another staff employee made a disparaging

       comment about female Ultrasound Technologists after allegedly accessing information

       about the Plaintiffs’ prior EEO complaint on a hard drive.

              m.      As a result of a workplace injury, Davis went on Workman’s

       Compensation. When Davis was released from Workman’s Compensation in January

       2015 for the work related injury, Petrillo under the direction of Bennett denied her return

       to work in her service area. Davis received paperwork from Human Resources (HR) via

       mail notifying her that she was denied return to work in her service area and was given an

       alternate work assignment out at PCA. A few days after Davis emailed management

       stating that she felt she was being retaliated against by being prohibited to return to work

       in her service area when all the employees before in her situation were accommodated,

       HR informed her that management had a “change of heart” and decided to give Davis an

       alternate work assignment in her service area at the main hospital.

              n.      Petrillo acted disparately towards Davis compared to how he treated the

       other MRI/Ultrasound technologists upon her return to work.           His actions included

       placing a large amount of space between them to the point it was difficult to discuss

       patients, keeping doors open when Davis met with him and closed when other

       technologists met with him, and demeaning Davis in front of her peers.



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              o.     On January 26, 2015 during a meeting, Petrillo informed the Ultrasound

       staff that there was going to be a new position posted for an Ultrasound Supervisor. He

       stated that he would no longer be the supervisor once the position was filled and that the

       position would be posted within a week. The position was not posted. Both Davis and

       Tonkyro inquired about the position with Petrillo over a two month time period and his

       response to both of them was he had no knowledge of the new position.

              p.     On March 31, 2015 in a department meeting, Petrillo informed the

       Ultrasound technologists that the supervisor position was not going to be posted and/or

       filled. It was decided by upper management that the greater need was for a technologist

       that can scan patients. Once Tonkyro and Davis showed interest in this upper-level

       position, management decided that it was no longer needed or available in an effort to

       retaliate against the Plaintiffs by prohibiting their advancement within the department.

       This instance was similar to when the MRI/Ultrasound position was posted in January

       2014 for DRT’s to apply, thus excluding the ultrasound technologists from the possibility

       of advancing into an upper-level management position. In addition, this instance is

       similar to a course previously used by the same management officials named in

       Plaintiffs’ prior EEO complaints where management played favorites by dangling the

       Lead Ultrasound Technologist position in front of Plaintiffs and used it as a tool in

       creating a sexually harassing and hostile work environment.

              q.     While Davis was not allowed to qualify for a supervisor position and

       Tonkyro was not allowed to apply for the PCA lead for roughly two years, in the Spring

       of 2016 management created a series of events designed to create deniability of

       retaliation while denying any of the Plaintiffs the advancement they wanted. While



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       various excuses have been provided, in March 2016 Petrillo offered the PCA lead to

       Davis, not Tonkyro. Petrillo knew Davis would not want to take that position.       Davis

       refused. An ultrasound supervisor position was posted in April 2016. Tonkyro asked

       why she was not being offered the PCA lead position. Stenzler admitted authorizing

       Petrillo to offer the PCA lead to Davis, but pretextually told Tonkyro he was now

       working out organizational chart issues. Moreover, shortly after he had offered Davis the

       PCA lead tech position and she refused, it was announced that there would be an

       ultrasound supervisor position opening at the main hospital in Tampa that the Plaintiffs

       supposedly could qualify for, and that position was advertised. Only Davis applied, but

       she has not received the position. Management is offering pretextual excuses instead.

       Among the pretextual reasons Davis was given were the need for organization chart

       changes. Tonkyro was told that management had told others that neither Davis, her, or

       Strauser would ever receive these positions. Rather, someone from outside would be

       selected as supervisor and make it difficult on them.

              r.      Shortly before the selection was to be made for the supervisor position, an

       Administrative Investigative Board (AIB) was impaneled to purportedly investigate a

       hostile work environment that existed within the ultrasound area.       The incompetent

       ultrasound tech was moved to the New Port Richey office without discussion. Her

       mother worked in that office and has personal ties with members of management. While

       the ultrasound techs were asked to testify before the AIB, none were informed

       beforehand or during what the alleged hostile work environment was. They and other

       ultrasound techs pointed out that there was a hostile work environment caused by

       management and cited their past and present EEO activity and the methods being used by



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       management to undermine the section and not provide it with appropriate supervisors or

       technologists.

              s.        Throughout this process, the supervisor position has not been filled.

       Recently, Tonkyro and Davis have learned that management has privately said that they

       were hiring someone from the outside to fill this position. While that person would have

       ultrasound experience, it would not be good for the ultrasound technologists.

              t.        On April 13, 2016, the ultrasound supervisor position was advertised and

       posted. On April 21, 2016, Davis was sent a letter by HR that her application had been

       accepted for the position. However, management has not accepted her. Dr. Stenzler

       separately told another employee that Davis would never be allowed to be the supervisor.

              u.        Since February 2015, despite several requests from Plaintiffs (Strauser and

       Davis) to have it addressed, there has been a black mold infestation within the Ultrasound

       Department and action or remedy was not timely taken.

              v.        Despite the fact Davis disqualified an applicant based on lack of

       qualifications for a MIT position in March 2014, the same applicant was hired for the

       MIT position on or about August 24, 2015. This applicant did not possess basic abilities

       necessary to be a competent ultrasound technologist. Since being hired she has missed

       many abnormalities and potential malignancies. Davis was intentionally excluded from

       the interview process involving this candidate, which is typically a part of her normal

       duties. Again, these actions have acted to undermine Davis’ success as lead technologist.

       When Davis attempted to address deficiencies she was accused of creating a hostile work

       environment.




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              w.      While Davis was not allowed to qualify for a supervisor position and

       Tonkyro was not allowed to apply for the PCA lead for roughly two years, in the Spring

       of 2016 management created a series of events designed to create deniability of

       retaliation while denying any of the Plaintiffs the advancement they wanted. While

       various excuses have been provided, in March 2016 Petrillo offered the PCA lead to

       Davis, not Tonkyro. Petrillo knew Davis would not want to take that position. Davis

       refused. Tonkyro asked why she was not being offered the PCA lead position. Stenzler

       admitted authorizing Petrillo to offer the PCA lead to Davis, but pretextually told

       Tonkyro he was now working out organizational chart issues. Moreover, shortly after he

       had offered Davis the PCA lead tech position and she refused, it was announced that

       there would be an ultrasound supervisor position opening at the main hospital in Tampa

       that the Plaintiffs supposedly could qualify for, and that position was advertised. Only

       Davis applied, but she has not received the position. Management is offering pretextual

       excuses instead. Among the pretextual reasons Davis was given were the need for

       organization chart changes. Tonkyro was told that management had told others that

       neither Davis, her, or Strauser would ever receive these positions. Rather, someone from

       outside would be selected as supervisor and make it difficult on them.

              x.      Shortly before the selection was to be made for the supervisor position, an

       Administrative Investigative Board (AIB) was impaneled to purportedly investigate a

       hostile work environment that existed within the ultrasound area.        The incompetent

       ultrasound tech was moved to the New Port Richey office without discussion. Her

       mother worked in that office and has personal ties with members of management. While

       the ultrasound techs were asked to testify before the AIB, none were informed



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       beforehand or during what the alleged hostile work environment was. They and other

       ultrasound techs pointed out that there was a hostile work environment caused by

       management and cited their past and present EEO activity and the methods being used by

       management to undermine the section and not provide it with appropriate supervisors or

       technologists.

              y.        Throughout this process, the supervisor position has not been filled.

       Recently, Tonkyro and Davis have learned that management has privately said that they

       were hiring someone from the outside to fill this position. While that person would have

       ultrasound experience, it would not be good for the ultrasound technologists.

              z.        On April 13, 2016, the ultrasound supervisor position GS-10 was posted

       was advertised and posted. On April 21, 2016, Davis was sent a letter by HR that her

       application had been accepted for the position. However, management has not accepted

       her. Dr. Stenzler separately told another employee that Davis would never be allowed to

       be the supervisor.

              aa.       Many of the above issues have continued. Conflicting reasons are being

       offered for failure to fill the lead supervisors and lead tach and other positions.

       Continuing requests for information are being ignored or deflected.

              bb.       On August 25, 2016, Davis, Tonkryo, and Strauser met with Battle to

       discuss their apprehensions regarding the apparent decline of patient care and safety, as

       well as threatening and retaliatory practices and deteriorating morale within their service.

       The next day, Dr. Cay, who was acting chief while Stenzler was out of town and Dr.

       Parise was off, spoke with some Radiology staff members about it. This conversation

       included the fact that they met with Battle the day before, and how this was perceived as



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       going out their “chain of command” by other Radiology staff members. A few days later

       Parise began to tell other radiologists that the “problem” ultrasound girls were going to be

       fired because of the “in-fighting” within the department. On September 14, 2016, the

       Plaintiffs disclosed this threating information to Battle by email. He responded on

       September 19, 2016 and stated that he would not tolerate retribution and that he did not

       know how Dr. Cay got the information about the meeting. No further follow-up has

       occurred.

              cc.       It was brought to Davis’s attention by Dr. Bailey, a staff radiologist at

       James A Haley, that Parise made derogatory gestures and comments about Davis during

       the October 2016 Radiologist meeting in front of the Chief of Radiology, Stenzler, as

       well as other physicians. Stenzler stood up in front of all the Radiologists at this meeting

       and told them that Davis was about to have her baby and that she would be out on

       maternity leave for four months Parise then yelled out “Yes” and at the same time made

       an arm jerking motion to suggest a celebratory action. As soon as the meeting was over,

       Bailey told Davis about the incident.         This was the second time that     Parise had

       threatened or acted inappropriately about Davis in front of Stenzler and nothing had been

       done about it.

              dd.       Davis was also informed by Dr. Eastham a radiologist, that Parise was

       speaking out to different individuals about threatening to fire the ultrasound girls, Davis,

       Tonkyro, and Strauser, because he heard that they had a meeting with the hospital

       director. Dr. Eastham said he was concerned for their well being.

              ee.       The Ultrasound Department continued to be short staffed and patient care

       is being interrupted and compromised. The lack of a sufficient number of competent



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        ultrasound techs has been brought to management’s attention on multiple occasions. The

        lack of support from Radiology’s management team has been part of a desire to harass

        the Ultrasound Department as a form of retaliation for their prior and current EEOs.

               ff.     Dr. Aaron Andrews, who met with Stenzler on November 4, 2016,

        brought to Davis’s attention that Stenzler had been making derogatory comments about

        Davis’s performance as the lead of the Ultrasound Department. During the same meeting

        Stenzler was discussing Davis, Tonkyro, and Strauser’s previous and current private EEO

        information with Andrews. Stenzler told Andrews that Davis, Strauser, Tonkyro and

        ultrasound technologist Yenny Hernandez were the reasons for the Ultrasound

        Department’s failures because they were filing frivolous or unfounded EEOs.

        30.    In addition to paragraphs 19 to 27, Strauser has been subjected to a hostile work

 environment based upon reprisal (EEO activity) including in the following ways:

              a.       On January 9, 2014, Stenzler, Bennett, and Parise created a position for

        MRI/Ultrasound supervisor, Posting ID: X-14-TSC-102-5906, with qualifications of a

        DRT which purposely disqualified Strauser from applying for the position.

              b.       On February 12, 2014, MRI Technologist Gina Feeney, notified Strauser

        that information relating to Strauser’s previous EEO complaint, records and written

        counseling were available on the S:/ drive of the computer system making the

        information accessible to the entire medical center.

              c.       February 2014 Ms. Graham interrupted Strauser during the training for a

        new piece of equipment, and in front of numerous parties, began questioning Strauser

        about a patient who was allegedly unhappy with the bathroom facility.




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             d.       On March 18, 2014 while returning from a portable exam, Strauser saw

       Parise down the hall from her. Once Parise saw Strauser, he glared at her and shook his

       head in an intimidating manner.

             e.       On March 26, 2014, Strauser, Davis and Tonkyro had a meeting with

       Stenzler to let him know they felt uncomfortable with Parise being in their department

       and that he was there unaccompanied, Stenzler stated, “You girls will never get past

       this,” referring to a prior EEO complaint in which she had participated.

             f.       On January 26, 2015 during a meeting, Petrillo informed the Ultrasound

       staff that there was going to be a new position posted for an Ultrasound Supervisor. He

       stated that he would no longer be the supervisor once the position was filled and that the

       position would be posted within a week. The position was not posted. Both Davis and

       Tonkyro inquired about the position with Petrillo over a two month time period and his

       response to both of them was he had no knowledge of the new position.

             g.       Since February 2015, despite several requests from Plaintiffs (Strauser and

       Davis) to have it addressed, there has been a black mold infestation within the Ultrasound

       Department and no action or remedy was taken in a timely manner.

             h.       On March 31, 2015 in a department meeting, Petrillo informed the

       Ultrasound technologists that the supervisor position was not going to be posted and/or

       filled. It was decided by upper management that the greater need was for a technologist

       that can scan patients. Once Tonkyro and Davis showed interest in this upper-level

       position, management decided that it was no longer needed or available in an effort to

       retaliate against the Plaintiffs by prohibiting their advancement within the department.

       This instance was similar to when the MRI/Ultrasound position was posted in January



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       2014 for DRT’s to apply, thus excluding the ultrasound technologists from the possibility

       of advancing into an upper-level management position. In addition, this instance is

       similar to a course previously used by the same management officials named in

       Plaintiffs’ prior EEO complaints where management played favorites by dangling the

       Lead Ultrasound Technologist position in front of Plaintiffs and used it as a tool in

       creating a sexually harassing and hostile work environment.

             i.       While various excuses have been provided, in March 2016 Petrillo offered

       the PCA lead to Davis, not Tonkyro. Petrillo knew Davis would not want to take that

       position.   Davis refused. An ultrasound supervisor position was posted in April 2016.

       Tonkyro asked why she was not being offered the PCA lead position. Stenzler admitted

       authorizing Petrillo to offer the PCA lead to Davis, but pretextually told Tonkyro he was

       now working out organizational chart issues. Moreover, shortly after he had offered

       Davis the PCA lead tech position and she refused, it was announced that there would be

       an ultrasound supervisor position opening at the main hospital in Tampa that the

       Plaintiffs supposedly could qualify for, and that position was advertised. Only Davis

       applied, but she has not received the position. Management is offering pretextual excuses

       instead. Among the pretextual reasons Davis was given were the need for organization

       chart changes. Tonkyro was told that management had told others that neither Davis, her,

       or Strauser would ever receive these positions. Rather, someone from outside would be

       selected as supervisor and make it difficult on them.

             j.       Between April 2016 and May 2016 Parise and Stenzler hired a radiologist

       who had previously had a personal relationship with Strauser before she came to the

       Haley VAHCS. The relationship ended badly. Strauser had discussed this with Parise



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       and gave him information which should have caused him to know that hiring the

       radiologist to work around Strauser would be difficult for Strauser. Regardless, the

       radiologist was hired over concerns she expressed to Stenzler when she heard he was

       being considered. The radiologist has come on board. He has blamed Strauser for

       impairing his ability to do or obtain work.

             k.       From the summer of 2016 until the present several of these issues have

       continued and new threats have been made.          The ultrasound lead and supervisors’

       positions have not been filled and despite requests, no one will offer an understandable

       reason.

             l.       On August 25, 2016, Davis, Tonkryo, and Strauser met with Battle to

       discuss their apprehensions regarding the apparent decline of patient care and safety, as

       well as threatening and retaliatory practices and deteriorating morale within their service.

       The next day, Dr. Cay, who was acting chief while Stenzler was out of town and Dr.

       Parise was off, spoke with some Radiology staff members about it. This conversation

       included the fact that they met with Battle the day before, and how this was perceived as

       going out their “chain of command” by other Radiology staff members. A few days later

       Parise began to tell other radiologists that the “problem” ultrasound girls were going to be

       fired because of the “in-fighting” within the department. On September 14, 2016, the

       Plaintiffs disclosed this threating information to Battle by email. He responded on

       September 19, 2016 and stated that he would not tolerate retribution and that he did not

       know how Dr. Cay got the information about the meeting. No further follow-up has

       occurred.




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             m.       It was brought to Davis’s attention by Dr. Bailey, a staff radiologist at

       James A Haley, that Parise made derogatory gestures and comments about Davis during

       the October 2016 Radiologist meeting in front of the Chief of Radiology, Stenzler, as

       well as other physicians. Stenzler stood up in front of all the Radiologists at this meeting

       and told them that Davis was about to have her baby and that she would be out on

       maternity leave for four months Parise then yelled out “Yes” and at the same time made

       an arm jerking motion to suggest a celebratory action. As soon as the meeting was over,

       Bailey told Davis about the incident.        This was the second time that      Parise had

       threatened or acted inappropriately about Davis in front of Stenzler and nothing had been

       done about it. This upset Strauser because the techs have been considered as one and

       criticized as a group.

             n.       Davis was also informed by Dr. Eastham a radiologist, that Parise was

       speaking out to different individuals about threatening to fire the ultrasound girls, Davis,

       Tonkyro , and Strauser, because he heard that they had a meeting with the hospital

       director. Dr. Eastham said he was concerned for their well being.

             o.       The Ultrasound Department continued to be short staffed and patient care

       is being interrupted and compromised. The lack of a sufficient number of competent

       ultrasound techs has been brought to management’s attention on multiple occasions. The

       lack of support from Radiology’s management team has been part of a desire to harass

       the Ultrasound Department as a form of retaliation for their prior and current EEOs.

             p.         Dr. Andrews, who met with Stenzler on November 4, 2016, brought to

       Davis’s attention that Stenzler had been making derogatory comments about Davis’s

       performance as the lead of the Ultrasound Department.           During the same meeting



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        Stenzler was discussing Davis, Tonkyro, and Strauser’s previous and current private EEO

        information with Andrews. Stenzler told Andrews that Davis, Strauser, Tonkyro and

        ultrasound technologist Hernandez were the reasons for the Ultrasound Department’s

        failures because they were filing frivolous or unfounded EEOs.

        31.      In addition to paragraphs 24 to 27 Hernandez has been subjected to a hostile

 work environment based upon reprisal (EEO activity) and sex including in the following ways:

        a.     Hernandez is a single mother of a special needs child who was intimidated by

        John Bennett when he was her supervisor. She did not file an EEO until 2016 because

        she had seen the retaliation which the other girls had experienced and did not want it to

        happen to her. That fear was reflected in her December 30, 2014 affidavit in Davis’ EEO

        case at the administrative stage.

        b.     During January through March 2015, Petrillo denied Hernandez’s request for help

        in general as she was the only female technologist during this period. As a result she was

        required to perform numerous procedures on female veterans that males were either not

        trained or unwilling to perform. Davis stated that she frequently was told by Hernandez

        that she was “drowning” and getting no help. Hernandez told Davis that she had to scan

        all the females and that staff was not listening to her. Davis contacted Petrillo to alert

        him to the difficulties Hernandez was having and Petrillo promised her he would speak to

        the staff. He did not speak to the staff. In addition, in or around August 2015 Petrillo

        with the approval of upper management hired an ultrasound technologist who was not

        competent, Angela Geraci DeSimone (AG). AG had previously been rejected by a hiring

        panel which included persons who worked in ultrasound such as Davis. AG was hired

        over other applicants who were competent and who had been recommended by Davis.



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       AG later reportedly boasted her mother was close to CRT Graham. Hernandez’ work

       increased in order to compensate for AG’s deficiencies, and Petrillo ignored the

       Plaintiffs’ complaints about AG’s lack of competence.

       c.     On June 12, 2015, Petrillo denied complainant’s request for leave but gave leave

       to a male employee.

       d.     On August 27, 2015, during a conversation with complainant, AG stated she was

       a double D and proceeded to pull up her blouse, even though Hernandez told her she

       didn’t want to see them repeatedly; Hernandez saw her bra and the size of her breast.

       Hernandez told Davis about the situation who told her to report it to Petrillo.

       e.     In late August 2015, during a conversation with Hernandez about scanning a

       transvaginal ultrasound, AG stated, “Why don’t you just let me borrow your        vagina?”

       This statement was reported to Petrillo. Afterward Petrillo conducted a fact finding

       investigation about this. Petrillo decided to counsel both AG and Hernandez. Hernandez

       was given a verbal warning. She felt revictimized.

       f.     Between August 2015 and February 2016, AG reminded Hernandez that her mom

       was a “close friend” with Jeri Graham, Chief Technologist. Davis stated that she had

       heard these comments. Davis stated that AG was hired while Davis was on leave.        AG

       did not have the experience to do the job of scanning but was hired anyway.

       g.     On September 3, 2015, as Hernandez was walking towards her interview for the

       sexual harassment fact-finding, AG approached her and asked, “Is the vagina here?” and

       made a gesture of inserting something into her vagina. Davis stated she heard similar

       comments. She heard AG referring to a patient as a vagina.         Hernandez told Strauser

       about these references.



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       h.      During the first week of September 2015, Hernandez reported AG’s sexual

       harassment to Petrillo; however, Petrillo did not notify AG until September 11, 2015 and

       Petrillo did not interview AG until September 18, 2015.

       i.      On September 10, 2015, AG commented she enjoyed working there, but couldn’t

       stand the fact that she had to work with “dirty vaginas.” Davis heard this comment, and

       stated that Hernandez was “floored” by this comment. Davis stated that other patients and

       other staff were within earshot of the comment. Davis also stated that AG was very rude

       to Hernandez. Davis spoke to AG about this comment. During this conversation, AG told

       Davis about her and her mother’s relationship with Graham.

       j.      On September 18, 2015, as AG was walking towards her fact finding interview on

       the sexual harassment fact finding, she gave Hernandez an angry, hostile look.

       k.      On September 21, 2015, Hernandez reported bullying to Petrillo. Petrillo did not

       address it.

       l.      On September 21, 2015, AG refused to talk to Hernandez when Hernandez tried

       to talk to her about a patient. AG would later bully Hernandez.

       m.      In September 2015, AG did not acknowledge or look at Hernandez when she

       asked AG chaperone her with a patient, AG just left instead.

       n.      Around October 2015, after AG learned about her benefits, she gave Hernandez a

       “high five” and purposely put her chest on Hernandez while supposedly doing a

       “shoulder bump.” Hernandez was amazed and called Davis and told her about this

       incident.




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       o.      During October and November 2015, Hernandez saw AG scan her own abdomen

       with the door open and her undergarments exposed. She later did this on multiple

       occasions despite the fact that she knew she should not be doing it.

       p.     In November 2015, AG instructed Hernandez in a “condescending and hostile”

       tone, to use her own assigned room like everybody else, then turned her back on

       Hernandez and started talking to Brent Burton (Burton), Medical Instrument

       Technologist, about how she got drunk the night before.

       q.     In December 2015, AG referred to one of the Radiology Residents as “Dark

       Chocolate” and described “all the things she would do” to sway him her way.

       r.     In December 2015 and January 2016, AG gave Hernandez “dirty looks” and

       made disparaging remarks about her eating disorder and stated, “Oh my God, you are

       obsessed over the stupidest sh*t ever.”

       s.     On multiple occasions, AG looked at Hernandez“ disgustingly” while Hernandez

       was eating and stated, “I can’t believe you’re going to eat all that.”

       t.     In January 2016, AG embraced Hernandez and kissed her on the cheek after

       Hernandez told AG her patient had cancelled an appointment.

       u.     In January 2016, AG “hollered” at Hernandez when Hernandez asked AG to call

       for an In-House patient.

       v.     In January 2016, AG caused Hernandez to be late for her patient by taking 50

       minutes to perform an ultrasound that takes 30 minutes. When Hernandez then asked for

       assistance with the patient AG hollered at Hernandez.

       w.     Around     January/February     2016,    Hernandez     saw    AG   embrace   Burton

       inappropriately in the hallway.



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       x.     Around January/February 2016, Hernandez saw AG enter the Tech room and

       inappropriately sit on Burton’s lap and wrap her arms around his neck and ask how he

       was doing.

       y.     During January and February 2016, when AG                 entered the room where

       complainant was performing an ultrasound on a patient, AG demanded that Hernandez

       leave the room.

      z.      On February 19, 2016, AG “slung” a request at Hernandez and “went off” on her

       stating, “Why the hell I need to do this again?”

       aa.    Between January, February, and March 2016, AG pulled up her shirt multiple

       times to show Hernandez her abs despite knowing Hernandez did not like it.

       bb.    During January, February, and March 2016, Victor Martinez (VM), Medical

       Instrument Technologist, taunted Hernandez by stating that AG was her best friend,

       asking her where her best friend was, knowing AG had sexually harassed and bullied

       her.

       cc.    On February 17, 2016 and several occasions, AG, as a chaperone to Hernandez

       for a transvaginal ultrasound, interrupted Hernandez several times and rudely hollered,

       “You need to hurry up, how much longer, I have a patient,” in front of the patient. Davis

       witnessed this action and reported it to Petrillo.

       dd.    On February 19, 2016, AG approached complainant, and in an angry, hostile tone,

       stated, “It is your responsibility to close one of the rooms.”

       ee.    On February 19, 2016, while Hernandez was on break, AG approached her, stared

       at the computer, and asked Hernandez in a condescending and angry tone, “Did those

       outpatient requests get done?”



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       ff.    On February 22, 2016, Hernandez verbally and by email reported AG’s bullying

       to Petrillo. No action was taken and on February 25, 2016, Hernandez went to Petrillo

       and told him about a series of AG’s actions. He told Hernandez there were more pressing

       issues so he couldn’t get to it, and for her to do what she has to do. Afterwards,

       Hernandez spoke to Davis about this, and that Hernandez was very upset about it. Davis

       talked to Petrillo about it.   Petrillo did nothing to address Hernandez’ harassment.

       Hernandez was now taking medication and having panic attacks but Petrillo did nothing

       and instead opened an AIB to investigate the hostile work environment being created for

       AG. Hernandez began to email Petrillo and copy Graham and Stenzler. None stepped in

       to assist her in addressing the harassment.

       gg.    Davis and Strauser also raised their concerns about AG, her treatment of

       Hernandez, her incompetence and VM’s conduct including his failure to do certain

       exams. Management ignored those complaints.

       hh.    While the AIB was going on, management moved AG to the New Port Richey

       CBOC, a location where her mother worked. Management told Strauser, Davis, and

       Hernandez that they would have to do a number of ultrasound procedures for patients that

       should be handled by the technologist at New Port Richey. When they objected that this

       would increase their workload, they were told that AG was not competent to do those

       procedures. The decision to hire AG over more competent technologists continued to

       increase the workload and harm the Plaintiffs. During this time, Parise complained about

       ultrasound technologists to other radiologists. From March 3, 2016 until she left for the

       New Port Richey VA facility, AG continued to ignore Hernandez when Hernandez asked




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       for assistance, and continued to interrupt Hernandez’s procedures by knocking on the

       door and telling Hernandez to hurry up.

       ii.     Around June 27, 2016, VM taunted Hernandez continually by telling her he was

       going to take her job, he was going to allege she was harassing him, and he would

       conduct a fact finding, in order to get his way.

       jj.     On June 28, 2016, Petrillo, who knew the Plaintiffs objected to his hiring of an

       incompetent technologist, instructed Strauser to inform the department, which includes

       Hernandez, to perform the Doppler ultrasounds for AG. Strauser stated that AG did not

       know how to perform liver and kidney dopplers.         This made the environment more

       hostile for the Plaintiffs.

       kk.     On June 30, 2016, Martinez became hostile towards Hernandez because she

       refused to perform a scan he had been assigned to do but scanned the wrong organ.

       ll.     On July 12, 2016, Hernandez sent an email to Petrillo regarding Martinez’s

       taunting and approaching her saying, “Oh you think you’re perfect”, and Martinez

       stopped talking to Hernandez after she told him to stop.

       mm.     As of July 27, 2016, Petrillo had not taken action about the February 19, 2016

       incident and the incidents above that Hernandez had reported to him.         Neither had

       Graham or Stenzler.

       nn.     On July 29, 2016, Petrillo sent an email stating technologists were not to cc: the

       Lead Technologist on emails in response to Hernandez’s July 27, 2016 request for status

       on her harassment complaints.       Hernandez had copied Davis on       numerous emails

       concerning her treatment.




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      32. Between September 2013 and present, each Plaintiff either observed or became aware

            of actions which affected the other plaintiffs.



                                         COUNT I: Retaliation

      33.        Plaintiffs, Tonkyro, Strauser, and Davis sue Robert Wilkie as Acting Secretary of

 the Department of Veterans Affairs, for retaliation under Title VII. In addition, Hernandez sues

 Robert Wilkie as Acting Secretary of the Department of Veterans Affairs for retaliation based

 upon sex.

        34.      Plaintiffs incorporate and re-allege paragraphs 1 through 32.

        35.      Plaintiffs engaged in EEO activity which is protected under Title VII. Including

 participation in their individual EEO case as well as participation in each other’s cases.

        36.      As alleged in paragraphs 8 and 15-32 above the Defendant was aware of the

 Plaintiffs’ protected EEO activities.

        37.      As alleged, the adverse actions followed after Plaintiffs engaged in EEO activity

 and included loss of pay, reputation, opportunity for advancement and positions.

        38.      As alleged in paragraphs 8 and 15-32, the aforesaid adverse employment actions,

 other adverse actions, misconduct, and other conduct, acts and omissions to the Plaintiffs’

 detriment, were all taken (or failed to be taken) by administrators, managing and supervisory

 personnel with the Haley VA in retaliation for the protected or EEO activity of the Plaintiffs

 including those set forth above. They are the direct and proximate result of the EEO activity.

        39.      The Defendant, through the supervisors of the Plaintiffs, has engaged in, directed,

 and/or ratified retaliatory conduct, and has frustrated the Plaintiffs’ efforts to obtain relief and

 intentionally maintained these retaliatory and unlawful practices to the detriment of its



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 employees. The Defendant at all relevant times knew or should have known of the retaliatory

 actions being taken against the Plaintiffs and failed to take necessary action to prevent or correct

 the retaliatory actions being taken and, in fact, ratified such conduct.

         40.     As a result of the foregoing, Plaintiffs have been damaged.          Such damages

 include, but are not limited to loss of pay; loss of benefits; payment of attorneys’ fees and legal

 costs; loss of an amicable work environment; loss of career and professional opportunities; harm

 to professional reputations; and humiliation, anxiety, degradation, embarrassment, and severe

 emotional suffering and distress. Plaintiffs will continue in the future to suffer the same damages

 absent relief from this Court.

         41.     Plaintiffs have satisfied all conditions precedent to the filing of this suit or have

 been prevented by the Defendant from satisfying such conditions or are excused under the law

 from satisfying any other conditions.

         WHEREFORE, Plaintiffs request prospective relief, a judgment for damages, attorneys’

 fees and costs and such other and further relief as this Court deems just and proper and for a trial

 by jury on all issues so triable.

                                Count II: Hostile Work Environment

         42.     Plaintiffs, Tonkyro, Strauser, Davis and Hernandez sue Robert Wilkie as Acting

 Secretary of the Department of Veterans Affairs, for hostile work environment based upon

 retaliation. Plaintiffs incorporate and re-allege paragraphs 1 through 32.

         43.     Included within this hostile work environment are adverse actions or material

 adverse actions within 45 days of filing the complaint. In the case of retaliatory hostile work

 environment, the environment includes the material adverse actions alleged in paragraphs 15-32.

         44.     The aforesaid actions and conduct have created an intolerable hostile work



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 environment.

          45.    As a result of the foregoing, Plaintiffs have been damaged.          Such damages

 include, but are not limited to payment of attorneys’ fees and legal costs, loss of an amicable

 work environment, humiliation, anxiety, degradation, embarrassment, physical injury or illness,

 and severe emotional suffering and distress. Plaintiffs will continue in the future to suffer the

 same damages absent relief from this Court.

          46.    Plaintiffs have satisfied all conditions precedent to the filing of this suit or have

 been prevented by the Defendant from satisfying such conditions or are excused under the law

 from satisfying any other conditions.

          WHEREFORE, Plaintiffs request prospective relief, a judgment for damages, attorneys’

 fees and costs and such other and further relief as this Court deems just and proper and for a trial

 by jury on all issues so triable.

                               Count III: Hostile Work Environment

          47.    Hernandez sues Robert Wilkie as Acting Secretary of the Department of Veterans

 Affairs, for hostile work environment based upon reprisal and sex. Plaintiff incorporates and re-

 alleges paragraphs 1 through 32.

          48.    Included within this hostile work environment are adverse actions or material

 adverse actions within 45 days of filing the complaint. In the case of retaliatory hostile work

 environment, the environment includes the material adverse actions alleged in paragraphs 8, and

 15-32.

          49.    The aforesaid actions and conduct have created an intolerable hostile work

 environment.

          50.    As a result of the foregoing, Plaintiffs have been damaged.          Such damages



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 include, but are not limited to payment of attorneys’ fees and legal costs, loss of an amicable

 work environment, humiliation, anxiety, degradation, embarrassment, physical injury or illness,

 and severe emotional suffering and distress. Plaintiffs will continue in the future to suffer the

 same damages absent relief from this Court.

         51.     Plaintiffs have satisfied all conditions precedent to the filing of this suit or have

 been prevented by the Defendant from satisfying such conditions or are excused under the law

 from satisfying any other conditions.

         WHEREFORE, Plaintiffs request prospective relief, a judgment for damages, attorneys’

 fees and costs and such other and further relief as this Court deems just and proper and for a trial

 by jury on all issues so triable.

                                              Count IV
                                           Injunctive Relief

         52.     Plaintiffs, Tonkyro, Strauser, Davis, and Hernandez          sue Defendant, Robert

 Wilkie as Acting Secretary of the Department of Veterans Affairs.

         53.     Plaintiffs incorporate and re-allege paragraphs 1 through 28.

         54.     Unless the above practices are enjoined, Plaintiffs will suffer irreparable harm.

         55.     There is (1) a substantial likelihood of success on the merits; (2) irreparable injury

 that will be suffered unless an injunction is issued; (3) the threatened injury to the Plaintiffs is

 greater than any damage the proposed injunction may cause the opposing party; and (4) the

 injunction, if issued, will not disserve the public interest.

         56.     Plaintiffs request the Court award their attorneys’ fees and costs and enter

 preliminary and permanent injunctions enjoining the following practices, actions and conduct:

                 a.      Violating Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et

 seq., as described above including retaliation against Plaintiffs for protected or EEO activity and

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 breach of the Privacy Act.

                b.       Such other practices, actions or conduct that the court deems appropriate

 and proper to enjoin.

        WHEREFORE, Plaintiffs demand trial by jury of all issues so triable and such other and

 further relief as the Court deems just and appropriate.


                                  DEMAND FOR JURY TRIAL

        Plaintiffs, Erin Tonkyro, Dana Strauser, Kara Mitchell-Davis and Yenny Hernandez

 hereby demand a trial by jury on all issues so triable.


                                                           Respectfully submitted,

                                                           _/s/ Joseph D. Magri___
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY the foregoing document was filed with the Clerk of the Court
 using the CM/ECF system which will send a notice of electronic filing on this 14th day of June
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